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IN THE UNITED STATES DISTRICT COURT "`"-~ D.C
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

SHARON D. HAYS, and
husband MIKE HAYS,

Plaintiffs,
Vs. CIVIL ACTlON NO. 1-03-1268-T
THE GOODYEAR TIRE &
RUBBER COMPANY

Defcndant.

 

RULE 4l(b) ORDER OF INVOLUNTARY DISMISSAL AS TO MIKE HAYS

 

It appearing to the Court and upon the entire record in the cause that the claim ofMike Hays

Should be dismissed pursuant to and in accordance With Rule 4l(b) of the Federal Rules cf Civil

Procedure:

IT Is so ORDERED, ADJUDGED AND DECREED this the Z[¢ EEy Of @3@ ,

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Tim EdWards

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
Memphis7 TN 38103

Dale H. Tuttle

GLASSMAN .TETER EDWARD & WADE
26 N. Second Street

Memphis7 TN 38103

Joseph Taggart

LAW OFFICE OF JEFFREY A. GARRETY
65 Stonebridge Blvd.

Jackson, TN 38308--0 l 0

Hal W. Wilkins

LAW OFFICES OF HAL W. WILKINS
414 Union St.

Ste. 1900

Nashville, TN 372]9--178

Jeffrey A. Garrety

LAW OFFICE OF JEFFREY A. GARRETY
65 Stonebridge Blvd.

Jackson, TN 38308--0 l 0

Honorable J ames Todd
US DISTRICT COURT

